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                 EXHIBIT B-092
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                                                                                           SEPO6 2022
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                    IN THE SUPERIOR COURT OF FULTON COUNTY                                  FULTON
                                                                                                 COUNTY,
                                                                                                      GA

                                     STATE OF GEORGIA
INRE:                                         )
                                              )       2022-EX-000024
SPECIAL PURPOSE GRAND JURY                    )
                                              )       Judge Robert C. I. McBumey

                        MOTION FOR IN CAMERA PROCEEDING
        COMES NOW the State of Georgia, by and through undersigned counsel, and files this

Motion in response to the Opposition to State's Motion for Leave to File Under Seal filed on

August 30, 2022 by counsel for Mark Amick, Joseph Brannan, Brad Carver, Vikki Townsend

Consiglio, John Downey, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham,

David Shafer, Shawn Still, and C.B. Yadav.

        The State reiterates that its August 1, 2022 Motion for Leave to File Under Seal Pursuant

to Uniform Superior Court Rule 21 was filed to protect the integrity of the Special Purpose Grand

Jury process and the privacy and rights of the aforementioned 11 witnesses before said Special

Purpose Grand Jury.

        The State hereby requests that this Honorable Court promptly hold on a date certain an in

camera proceeding to consider the State's request to file under seal, in which only the interested

parties and their counsel be in attendance due to the sensitive nature of the request

        Respectfully submitted, this the 6th day of September, 2022.

                                                              FANI T. WILLIS
                                                              DISTRIC       ORNEY



                                                                            , Bar No. 410684
                                                                           ·ct Attorney
                                                                 anta Judicial Circuit
                                                              136 Pryor Street Southwest
                                                              Third Floor
                                                              Atlanta, Georgia 30303
      Case 1:23-cv-03721-SCJ Document 1-103 Filed 08/21/23 Page 3 of 3




                                 CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing Motion for In Camera Proceeding has been
served upon Holly A. Pierson and Kimberly Bourroughs Debrow, counsel for the persons in
interest, via electronic mail, this the 6th day of September, 2022.




                                                                       ri Attorney
                                                           Atlanta Judicial Circuit
                                                           136 Pryor Street Southwest
                                                           Third Floor
                                                           Atlanta, Georgia 30303
